           Case 3:22-cv-04465-CRB Document 79 Filed 06/20/24 Page 1 of 3




 1   PATTERSON BELKNAP WEBB & TYLER LLP
     Steven A. Zalesin (Pro Hac Vice)
 2   sazalesin@pbwt.com
     Josh Kipnees (Pro Hac Vice)
 3   jkipnees@pbwt.com
     1133 Avenue of the Americas
 4   New York, New York 10036
     Telephone: (212) 336-2110
 5   Facsimile: (212) 336-2111
 6   LAFAYETTE & KUMAGAI LLP
     Gary T. Lafayette (SBN 88666)
 7   glafayette@lkclaw.com
     Brian H. Chun (SBN 215417)
 8   bchun@lkclaw.com
     LAFAYETTE & KUMAGAI LLP
 9   1300 Clay Street, Suite 810
     Oakland, CA 94612
10   Telephone: (415) 357-4600
     Facsimile: (415) 357-4605
11
     Attorneys for Defendant Zarbee’s, Inc.
12

13   DOVEL & LUNER, LLP
     Jonas B. Jacobson (Cal. Bar No. 269912)
14   jonas@dovel.com
     Simon Franzini (Cal. Bar No. 287631)
15   simon@dovel.com
     201 Santa Monica Blvd., Suite 600
16   Santa Monica, California 90401
     Telephone: (310) 656-7066
17   Facsimile: (310) 656-7069
18   Attorneys for Plaintiffs
19
                                   UNITED STATES DISTRICT COURT
20                               NORTHERN DISTRICT OF CALIFORNIA
21
     KRYSTAL LOPEZ and DAMANY                    Case no. 22-cv-4465-CRB
22   BROWNE, individually and on behalf of all
23   others similarly situated,
                                                 STIPULATION REGARDING
                                                 DEPOSITIONS
24
                   Plaintiffs,
25         v.

26   ZARBEE’S, INC.,

27                 Defendant.

28
                                                    STIPULATION REGARDING DEPOSITIONS
       Case 3:22-cv-04465-CRB Document 79 Filed 06/20/24 Page 2 of 3



 1          Plaintiffs Krystal Lopez and Damany Browne and Defendant Zarbee’s, Inc. (“Zarbee’s”)

 2   (collectively, the “Parties”), through their respective attorneys of record, hereby enter into the

 3   stipulation below with reference to depositions:

 4          WHEREAS, Plaintiffs commenced the above-captioned action (the “Action”) on August

 5   2, 2022;

 6          WHEREAS, on June 14, 2024, Plaintiffs requested a telephonic conference with the Court

 7   regarding deposition objections;

 8          WHEREAS, on June 14, 2024, the Court ordered the parties to meet and confer regarding

 9   the dispute and, if the parties reached agreement, to memorialize the agreement in a stipulation

10   filed with the Court, ECF No. 79;

11          WHEREAS, the parties met and conferred on June 17, 2024, and have amicably agreed to

12   resolve their dispute pursuant to the terms stipulated below;

13          IT IS HEREBY STIPULATED that:

14          (1) For all future depositions in this Action, counsel defending the deposition shall be

15              limited to making the following objections during the deposition: objections on

16              privilege grounds; objections to form; and, for depositions pursuant to Federal Rule of

17              Procedure 30(b)(6), objections to questions seeking testimony that falls outside the

18              scope of the deposition topics on which the witness has been designated to testify.

19          (2) By objecting to form without further stating the basis for the objection (including but

20              not limited to the compound, vague, or speculative nature of the question, the fact that

21              the question has been asked and answered, the fact that the question calls for a legal

22              conclusion, and/or that the question mischaracterizes the witness’s testimony or

23              assumes facts not in evidence), the objecting party expressly preserves and does not

24              waive the objection if the deposition testimony is later proposed to be introduced as

25              evidence at trial or other proceedings.

26          (3) In light of the resolution of this dispute, the Parties agree that this Court’s discovery

27              management conference scheduled for June 21, 2024 can be cancelled.

28          IT IS SO STIPULATED.                      -1-     STIPULATION REGARDING DEPOSITIONS
        Case 3:22-cv-04465-CRB Document 79 Filed 06/20/24 Page 3 of 3



 1   Dated: June 20, 2024                _Joshua Kipnees _________________________
                                          Joshua Kipnees (Pro Hac Vice)
 2                                        jkipnees@pbwt.com
                                          Steven A. Zalesin (Pro Hac Vice)
 3                                        sazalesin@pbwt.com
                                          PATTERSON BELKNAP WEBB &TYLER LLP
 4                                        1133 Avenue of the Americas
                                          New York, New York 10036
 5                                        Telephone: (212) 336-2110

 6                                       Gary T. Lafayette (SBN 88666)
                                         glafayette@lkclaw.com
 7                                       Brian H. Chun (SBN 215417)
                                         bchun@lkclaw.com
 8                                       LAFAYETTE & KUMAGAI LLP
                                         1300 Clay Street, Suite 810
 9                                       Oakland, CA 94612
                                         Telephone: (415) 357-4600
10                                       Facsimile: (415) 357-4605

11                                        Attorneys for Defendant

12
                                          _Jonas Jacobsen_________________________
13                                        Jonas B. Jacobson (Cal. Bar No. 269912)
                                          jonas@dovel.com
14                                        Simon Franzini (Cal. Bar No. 287631)
                                          simon@dovel.com
15                                        DOVEL & LUNER, LLP
                                          201 Santa Monica Blvd., Suite 600
16                                        Santa Monica, California 90401
                                          Telephone: (310) 656-7066
17
                                          Attorneys for Plaintiffs
18

19

20

21

22

23

24

25

26

27

28                                         -2-     STIPULATION REGARDING DEPOSITIONS
